                   Case 3:20-cv-05787-MJP Document 13 Filed 11/09/20 Page 1 of 3




 1                                                                                               Marsha J. Pechman, U.S. District Judge

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 6
                                        UNITED STATES DISTRICT COURT
 7                                FOR THE WESTERN DISTRICT OF WASHINGTON
                                                 AT TACOMA
 8
     ALYSHA E. CHANDRA,                                                    NO. 3:20-cv-05787-MJP
 9
                                                       Plaintiff,
10
               vs.                                                         STIPULATION AND ORDER OF
11                                                                         DISMISSAL
     PIERCE COUNTY PROSECUTOR'S                                            NOTE ON MOTION CALENDAR:
12
     OFFICE and MARY ROBNETT,                                              11/06/2020
     individually,
13

14                                                Defendants.

15
               IT IS HEREBY STIPULATED AND AGREED by and between the parties that the
16
     complaint in the above-entitled matter has been fully settled and compromised between Plaintiff
17
     Alysha E. Chandra and Defendants Pierce County Prosecutor’s Office and Mary Robnett, and
18
     may be dismissed with prejudice, with all parties to bear their own costs and attorney fees.
19
               DATED this 6th day of November, 2020.
20
      MARY E. ROBNETT                                                     JOHN T LAW, PLLC
21    Prosecuting Attorney

22    s/ JANA R. HARTMAN                                                  /s/John Tymczyszyn
      JANA R. HARTMAN                                                     JOHN TYMCZYSZYN
23    State Bar Number #35524                                             State Bar Number #47130
      Pierce County Prosecutor / Civil                                    155 - 108th Avenue NE, Suite 210
24    955 Tacoma Avenue South, Suite 301                                  Bellevue, WA 98004

     -1                                                                                       Pierce County Prosecuting Attorney/Civil Division
     C20-5787 Chandra v. Pierce County Prosecutor's Office - Stipulation and Dismissal.docx   955 Tacoma Avenue South, Suite 301
     USDC WAWD No.                                                                            Tacoma, Washington 98402-2160
                                                                                              Main: (253) 798-6732 / Fax: (253) 798-6713
                   Case 3:20-cv-05787-MJP Document 13 Filed 11/09/20 Page 2 of 3




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      Ph: 253-798-7748 / Fax: 253-798-6713                                Email: john.tymczyszyn@gmail.com
 2    E-mail: jana.hartman@piercecountywa.gov
                                                                          LAW OFFICE OF THOMAS G. JARRARD,
 3                                                                        PLLC

 4                                                                        /s/Thomas Jarrard
                                                                          THOMAS G. JARRARD
 5                                                                        State Bar Number #39774
                                                                          1020 North Washington Street
 6                                                                        Spokane, WA 99201
                                                                          Ph: (425) 239-7290
 7                                                                        Email: TJarrard@att.net

 8                                          **********************************

 9                                                                ORDER

10             THIS MATTER coming on to be heard before the undersigned Judge of the above-

11   entitled Court based upon the stipulation of the Plaintiff Alysha E. Chandra and Defendants

12   Pierce County and Mary Robnett for dismissal, and the Court being fully advised in the

13   premises, now, therefore, it is hereby

14             ORDERED, ADJUDGED, AND DECREED that the Plaintiff's complaint against

15   Defendant Pierce County and Mary Robnett be, and the same is hereby dismissed with prejudice,

16   with all parties to bear their own costs and attorney fees.

17             DONE IN OPEN COURT this 9th day of November, 2020.

18

19

20
                                                                                A
                                                                                Marsha J. Pechman
                                                                                United States Senior District Judge
21
     Presented by:                                                      Approved for Filing:
22                                                                      Notice of Presentation Waived:
23    MARY E. ROBNETT                                                     JOHN T LAW, PLLC
      Prosecuting Attorney
24

     -2                                                                                       Pierce County Prosecuting Attorney/Civil Division
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                   Case 3:20-cv-05787-MJP Document 13 Filed 11/09/20 Page 3 of 3




 1    s/ JANA R. HARTMAN                                                  /s/John Tymczyszyn
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 4    Ph: 253-798-7748 / Fax: 253-798-6713                                Email: john.tymczyszyn@gmail.com
      E-mail: jana.hartman@piercecountywa.gov
 5                                                                        LAW OFFICE OF THOMAS G. JARRARD,
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 6
                                                                          /s/Thomas Jarrard
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